Case 2:24-cv-01014-JRG-RSP             Document 38       Filed 03/10/25      Page 1 of 10 PageID #:
                                              568



                             UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION



     A.F., on behalf of J.F., and A.R., on behalf of
     B.R.,                                                 Civil Case No. 2:24-cv-01014-JRG-RSP
            Plaintiffs,

            v.

     CHARACTER TECHNOLOGIES, INC.; NOAM                    DEFENDANT NOAM SHAZEER’S
     SHAZEER; DANIEL DE FREITAS                            MOTION TO DISMISS THE
     ADIWARSANA; GOOGLE LLC; and                           COMPLAINT FOR LACK OF
     ALPHABET INC.,                                        PERSONAL JURISDICTION

            Defendants.



 I.        INTRODUCTION

           Plaintiffs attempt to hold Defendant Noam Shazeer personally liable for harms they allege

 were caused by an online service provided by Character Technologies, Inc. (“Character.AI” or

 “C.AI”). While Mr. Shazeer sympathizes with Plaintiffs for the harms their children allegedly

 suffered, the claims against him as an individual defendant have no factual or jurisdictional basis.

           The claims against Mr. Shazeer should be dismissed under Fed. R. Civ. P. 12(b)(2) for lack

 of personal jurisdiction. Mr. Shazeer is not a Texas citizen and has no ties to Texas. Plaintiffs have

 alleged no facts establishing any connection between Mr. Shazeer, the state of Texas, and the facts

 underpinning Plaintiffs’ claims to establish either general or specific personal jurisdiction.1



 1 Plaintiffs’ claims against Mr. Shazeer are also subject to individual arbitration, under the
 arbitration agreement in C.AI’s terms of use. Mr. Shazeer consents to the court’s jurisdiction for
 (continued…)
                                                   1
Case 2:24-cv-01014-JRG-RSP            Document 38        Filed 03/10/25      Page 2 of 10 PageID #:
                                             569



 Because personal jurisdiction does not exist, Mr. Shazeer should be dismissed as a defendant in

 this lawsuit.

 II.    STATEMENT OF THE ISSUES TO BE DECIDED

        Whether this Court can exercise personal jurisdiction over Mr. Shazeer.

 III.   FACTUAL ALLEGATIONS

        Mr. Shazeer co-founded C.AI with co-Defendant Daniel De Freitas. Compl. ¶¶ 26, 29.

 C.AI offers an online platform for users to engage in interactive conversations with virtual

 generative AI chatbots, called “Characters.” Id. ¶ 216. Characters may be historical or fictional

 figures, id. ¶ 218, or custom characters created by users, id. ¶¶ 218-20.

        Mr. Shazeer is a California citizen. Declaration of Noam Shazeer (“Shazeer Decl.”)

 (March 7, 2025), ¶ 2. He has never resided in Texas, does not conduct business in Texas, and does

 not have an office in Texas. Id. ¶¶ 2-4. From the founding of C.AI until Mr. Shazeer’s departure

 from the company and return to Google in 2024, C.AI was headquartered in California and

 incorporated in Delaware. Id. ¶ 5. At no time during his tenure with C.AI did Mr. Shazeer conduct

 business in Texas on behalf of the company. Id. ¶¶ 6-10.

        The Complaint suggests J.F. and B.R. were harmed by the content of their conversations

 with Characters on C.AI. Compl. ¶ 2. Plaintiffs are A.F., the parent of J.F., id. ¶ 12, and A.R., the

 parent of B.R., id. ¶ 16. They bring 10 claims against Defendants on behalf of their children, id.

 ¶¶ 1-2, 374-380, 394-416, and assert 6 of those claims against Mr. Shazeer individually. Id. ¶¶




 the limited purpose of compelling arbitration, but preserves his right to challenge personal
 jurisdiction for all other purposes. See Halliburton Energy Servs., Inc. v. Ironshore Specialty Ins.
 Co., 921 F.3d 522, 530 n.2 (5th Cir. 2019) (“This court has definitively held that a defendant can
 subject itself to the court’s jurisdiction for ‘the limited purpose of compelling arbitration’ without
 waiving challenges to personal jurisdiction for other purposes.”).
                                                   2
Case 2:24-cv-01014-JRG-RSP            Document 38        Filed 03/10/25      Page 3 of 10 PageID #:
                                             570



 381-393, 417-467.

 IV.    LEGAL STANDARD

        On a Rule 12(b)(2) motion, “the plaintiff bears the burden of establishing the district court’s

 jurisdiction over the nonresident” and must present a prima facie case for personal jurisdiction.

 Wilson v. Belin, 20 F.3d 644, 648 (5th Cir. 1994); see also Luciano v. SprayFoamPolymers.com,

 LLC, 625 S.W.3d 1, 8 (Tex. 2021) (“The plaintiff bears the initial burden of pleading allegations

 sufficient to confer jurisdiction.”). “Allegations in a plaintiff’s complaint are taken as true except

 to the extent that they are contradicted by defendant’s affidavits.”          Cunningham v. CBC

 Conglomerate, LLC, 359 F. Supp. 3d 471, 476 (E.D. Tex. 2019); see also Hyundam Indus. Co.,

 Ltd. v. Swacina, 692 S.W.3d 734, 744 (Tex. App. – Corpus Christi 2023, pet. filed) (the nonresident

 defendant must negate all bases of personal jurisdiction alleged by the plaintiff, including by

 “present[ing] evidence that it has no contacts with Texas, effectively disproving the plaintiff’s

 allegations”) (citation and internal quotations omitted).        “[A]cceptance” of the plaintiff’s

 jurisdictional allegations “does not automatically mean that a prima facie case for specific

 jurisdiction has been presented.” Panda Brandywine Corp. v. Potomac Elec. Power Co., 253 F.3d

 865, 868 (5th Cir. 2001). Rather, the plaintiff must “show the nonresident defendant’s purposeful

 availment of the benefits and protections of and minimum contacts with the forum state.” Id.

 V.     ARGUMENT

        Because Mr. Shazeer is a California resident and because Plaintiffs do not attempt to allege

 continuous or systematic ties to the state of Texas, Plaintiffs do not (and cannot) claim that this

 Court in Texas may exercise general jurisdiction over him. Compl. ¶ 35; see also Shazeer Decl. ¶

 2. Instead, Plaintiffs must allege facts sufficient to support the exercise of specific personal

 jurisdiction with respect to Mr. Shazeer’s “activity conducted within the forum state.” BRP-Rotax

                                                   3
Case 2:24-cv-01014-JRG-RSP              Document 38         Filed 03/10/25      Page 4 of 10 PageID #:
                                               571



 GMBH & Co. KG v. Shaik, 698 S.W.3d 305, 311 (Tex. App. – Dallas 2023, pet. granted); see

 Casares v. Agri-Placements Int’l, Inc., 12 F. Supp. 3d 956, 968 (S.D. Tex. 2014) (“due process

 requirements must be met as to each defendant over whom a court exercises jurisdiction”) (cleaned

 up); Mary Lee v. TriCentury Corp., 2010 WL 11530300, at *3 (E.D. Tex. Apr. 29, 2010) (“the

 court must still evaluate each of the Defendants’ contacts separately to determine whether personal

 jurisdiction exists”) (cleaned up).

           In order for a court to exercise specific personal jurisdiction in Texas, personal jurisdiction

 must (1) exist under Texas’s long-arm statute and (2) be consistent with due process. Luciano,

 625 S.W.3d at 8. “The Texas long-arm statute authorizes the exercise of personal jurisdiction to

 the full extent allowed by the Due Process Clause of the Fourteenth Amendment.” Ancor

 Holdings, L.P. v. Landon Capital Partners, LLC, 114 F.4th 382, 394 (5th Cir. 2024) (cleaned up).

           A.     Texas’s Long-Arm Statute Does Not Confer Jurisdiction Over Mr. Shazeer.

           “The Texas long-arm statute is satisfied if the nonresident defendant ‘does business’ in this

 State.”    Hyundam Indus. Co., 692 S.W.3d at 741. “[D]o[ing] business” in Texas includes

 “contract[ing] . . . with a Texas resident [where] either party is to perform the contract in whole or

 in part in this state”; “commit[ing] a tort in whole or in part in this state”; or “recruit[ing] Texas

 residents . . . for employment inside or outside this state.” Tex. Civil Prac. & Remedies Code Ann.

 § 17.402(1)-(3) (West 2023). Plaintiffs allege no such actions on the part of Mr. Shazeer. The

 facts, as set forth in Mr. Shazeer’s declaration, establish just the opposite. He was not “do[ing]

 business” in Texas because, as set forth in his declaration, Mr. Shazeer did not develop C.AI in

 Texas, did not provide services to or on behalf of C.AI in Texas, did not enter into any business

 transaction or contract in Texas on behalf of C.AI, did not advertise or promote C.AI in Texas, and

 did not transact or solicit business in Texas on behalf of C.AI. Shazeer Aff. ¶¶ 6-10. Nor have

                                                     4
Case 2:24-cv-01014-JRG-RSP           Document 38        Filed 03/10/25      Page 5 of 10 PageID #:
                                            572



 Plaintiffs alleged any facts showing that the sole intentional tort allegedly committed by Mr.

 Shazeer, intentional infliction of emotional distress, “targeted Texas.” Elevacity U.S., LLC v.

 Schweda, 2022 WL 3704537, at *6 (E.D. Tex. Aug. 26, 2022) (“the key” for intentional torts is

 whether the defendant “targeted Texas”); see Walden v. Fiore, 571 U.S. 277, 286 (2014) (“A forum

 State’s exercise of jurisdiction over an out-of-state intentional tortfeasor must be based on

 intentional conduct by the defendant that creates the necessary contacts with the forum”); Cent.

 Freight Lines Inc. v. APA Transp. Corp., 322 F.3d 376, 383 (5th Cir. 2003) (“specific personal

 jurisdiction may be based on intentionally tortious conduct that is purposefully directed toward the

 forum state”); City of San Francisco v. Exxon Mobil Corp., 2020 WL 3969558, at *13 (Tex. App.

 – Ft. Worth 2020, pet. denied) (finding allegations that defendants “committed torts that were

 targeted at Texas” satisfied Texas’s long-arm statute, but failed to satisfy due process).

        Even if the Complaint alleged that C.AI had limited business activity in Texas (it does not),

 such business activity would not be sufficient to establish personal jurisdiction over Mr. Shazeer.

 See Tabacinic v. Frazier, 372 S.W.3d 658, 669 (Tex. App. - Dallas 2012, no pet.) (“[j]urisdiction

 over an individual generally cannot be based on jurisdiction over a corporation with which he is

 associated”). Any attempt to cure these allegations would therefore be futile. See Stripling v.

 Jordan Prod. Co., LLC, 234 F.3d 863, 872-73 (5th Cir. 2000) (“It is within the district court’s

 discretion to deny a motion to amend if it is futile.”).

        B.      Exercising Specific Personal Jurisdiction Over Mr. Shazeer Would Violate
                Constitutional Due Process.

        A Texas court’s exercise of personal jurisdiction over Mr. Shazeer would violate due

 process. For a court to exercise specific personal jurisdiction consistent with due process, (1) the

 defendant must have “purposefully availed itself of the forum” and (2) the plaintiff’s claims must


                                                  5
Case 2:24-cv-01014-JRG-RSP            Document 38        Filed 03/10/25      Page 6 of 10 PageID #:
                                             573



 “arise out of or relate to” the defendant’s forum-directed activities. Burger King Corp. v.

 Rudzewicz, 471 U.S. 462, 472 (1985) (citations omitted); see also Ancor Holdings, L.P. v. Landon

 Capital Partners, LLC, 114 F.4th 382, 394 (5th Cir. 2024) (citing Burger King).

                1.      Plaintiffs Cannot Establish “Purposeful Availment.”

        Due process requires that Mr. Shazeer “purposely availed” himself of the forum. See

 Burger King Corp., 471 U.S. at 472. The Complaint does not allege any conduct (suit-related or

 otherwise) by Mr. Shazeer specifically targeting Texas: there are no allegations that Mr. Shazeer

 promoted C.AI in Texas, communicated with Texas residents, or entered into any business

 transactions with Texas residents. And Mr. Shazeer establishes in his declaration that no such

 actions took place. See Shazeer Decl. ¶¶ 6-10.

        The only allegations purporting to show Mr. Shazeer “purposefully availed” himself of the

 forum are those Plaintiffs collectively allege against all Defendants. Plaintiffs allege that

 “Defendants” “designed or oversaw the design” of C.AI “with the intention of promoting it to

 Texas residents and transacting business in Texas with Texas residents,” “direct market[ed] and

 advertis[ed] to and in the State of Texas,” “sen[t] emails and other communications to Texas

 residents,” “collect[ed] personal and location information . . . of Texas residents,” “purport[ed] to

 enter thousands of contracts with Texas residents as well as Texas businesses,” and thus

 “purposefully availed themselves of Texas law[.]” Compl. ¶ 36-37. Plaintiffs, however, make no

 allegation that Mr. Shazeer specifically undertook any such action.

        These generalized and collective allegations are insufficient as a matter of law. It is

 “plainly unconstitutional” to assert jurisdiction “by considering the defending parties together and

 aggregating their forum contacts.” Rush v. Savchuk, 444 U.S. 320, 331-32 (1980) (internal

 quotation marks omitted); see Casares, 12 F. Supp. 3d at 968 (“due process requirements must be

                                                  6
Case 2:24-cv-01014-JRG-RSP            Document 38        Filed 03/10/25      Page 7 of 10 PageID #:
                                             574



 met as to each defendant over whom a court exercises jurisdiction”) (cleaned up); Mary Lee, 2010

 WL 11530300, at *3 (“the court must still evaluate each of the Defendants’ contacts separately to

 determine whether personal jurisdiction exists”) (cleaned up). Plaintiffs’ improper jurisdictional

 group pleading must be rejected. See Owens v. Jastrow, 789 F.3d 529, 537 (5th Cir. 2015) (“This

 court has rejected the group pleading doctrine.”); see also In re Aegean Marine Petroleum

 Network, Inc. Sec. Litig., 529 F. Supp. 3d 111, 135 (S.D.N.Y. 2021) (“To allege personal

 jurisdiction over a defendant, group pleading is not permitted.”).

                2.      The Claims Do Not “Arise Out of or Relate To” Mr. Shazeer’s
                        Purported Contact with Texas.

        Due process requires that “the suit” must “aris[e] out of or relat[e] to the defendant’s

 contacts with the forum.” Daimler AG v. Bauman, 571 U.S. 117, 127 (2014); see Walden, 571

 U.S. at 277 (specific jurisdiction is based on “the relationship among the defendant, the forum, and

 the litigation”); BRP-Rotax GMBH & Co., 698 S.W.3d at 313 (same).

        Plaintiffs have not (and cannot) allege facts showing a “relationship among the defendant,

 the forum, and the litigation.” Walden, 571 U.S. at 277. Mr. Shazeer did not develop C.AI in

 Texas, did not provide services to or on behalf of C.AI in Texas, did not enter into any business

 transactions or contracts in Texas on behalf of C.AI, did not advertise or promote C.AI in Texas,

 and did not transact or solicit business in Texas on behalf of C.AI. Shazeer Decl. ¶¶ 6-10. See

 Bristol-Myers Squibb Co. v. Superior Ct. of Cal., 582 U.S. 255, 259 (2017) (plaintiffs’ claim did

 not arise out of or relate to defendant’s California contacts because “BMS did not develop Plavix

 in California, did not create a marketing strategy for Plavix in California, and did not manufacture,

 label, package, or work on the regulatory approval of the product in California”). Indeed,

 Plaintiffs’ failure to allege that Mr. Shazeer has any contacts with Texas shows that Plaintiffs’


                                                  7
Case 2:24-cv-01014-JRG-RSP           Document 38          Filed 03/10/25    Page 8 of 10 PageID #:
                                            575



 claims cannot “arise out of or relate to” such suit-relevant forum contacts. See BRP-Rotax GMBH

 & Co., 698 S.W.3d at 313 (“the court should consider only the defendant’s contacts with the forum

 state”). This is fatal to Plaintiffs’ attempt to establish personal jurisdiction over Mr. Shazeer.

        Nor do Plaintiffs’ claims “arise out of or relate to” the purported minimum contacts pled

 against “Defendants” without differentiation. The Complaint does not allege that any of C.AI’s

 purported contacts with Texas have anything to do with Plaintiffs’ claims. See Bristol-Myers

 Squibb, 582 U.S. at 264 (“When there is no” “affiliation between the forum and the underlying

 controversy” “specific jurisdiction is lacking regardless of the extent of a defendant’s unconnected

 activities in the State.”).   And basing jurisdiction on allegations collectively pled against

 “Defendants” contravenes the requirement that “the relationship must arise out of contacts that the

 ‘defendant himself’ creates with the forum State.” Walden, 571 U.S. at 284.

 VI.    CONCLUSION

        For the foregoing reasons, Mr. Shazeer respectfully requests that the claims asserted against

 him in the Complaint be dismissed for lack of personal jurisdiction.




  DATED: March 10, 2025                               Respectfully submitted,

                                                      /s/ Isaac D. Chaput    s

                                                      Paul W. Schmidt* (LEAD COUNSEL)
                                                      COVINGTON & BURLING LLP
                                                      New York Times Building
                                                      620 Eighth Avenue,
                                                      New York, New York 10018-1405
                                                      Telephone: + 1 (212) 841-1171
                                                      Email: pschmidt@cov.com

                                                  8
Case 2:24-cv-01014-JRG-RSP   Document 38     Filed 03/10/25    Page 9 of 10 PageID #:
                                    576



                                          Isaac D. Chaput*
                                          COVINGTON & BURLING LLP
                                          Salesforce Tower
                                          415 Mission Street, Suite 5400
                                          San Francisco, California 94105-2533
                                          Telephone: + 1 (415) 591-7020
                                          Email: ichaput@cov.com

                                          Jennifer Parker Ainsworth
                                          Texas Bar No. 00784720
                                          WILSON, ROBERTSON &
                                          VANDEVENTER, P.C.
                                          909 ESE Loop 323, Suite 400
                                          Tyler, Texas 75701
                                          Telephone: 903-509-5000
                                          Email: jainsworth@wilsonlawfirm.com

                                          *Admitted Pro Hac Vice

                                          Counsel for Defendant Noam Shazeer




                                      9
Case 2:24-cv-01014-JRG-RSP          Document 38       Filed 03/10/25      Page 10 of 10 PageID #:
                                            577



                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that all counsel of record who are deemed to have

 consented to electronic service are being served with a copy of this motion via the Court’s CM/ECF

 system per Local Rule CV-5(a)(3) on March 10, 2025.

                                                                    /s/ Isaac D. Chaput      s




                                                10
